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 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )   2:10-CR-00361-LKK
                                       )
12              Plaintiff,             )
                                       )   PRELIMINARY ORDER OF FORFEITURE
13        v.                           )
                                       )
14   DEANNA WILLIAMS,                  )
                                       )
15              Defendant.             )
                                       )
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Deanna Williams, it is
19   hereby ORDERED, ADJUDGED, AND DECREED as follows:
20        1.   Pursuant to 18 U.S.C. §§ 982(a)(2)(B) and 1029(c)(1)(C),
21   defendant Deanna Williams’ interest in the following property
22   shall be condemned and forfeited to the United States of America,
23   to be disposed of according to law:
24              a. Credit or debit cards in various names;
                b. Cash counting machines;
25              c. Desktop and laptop computers;
                d. GPS devices;
26              e. Magnetic stripe readers(skimmers);
                f. Magnetic stripe reader/writers (re-encoders);
27              g. Electronic storage media;
                h. White plastic, re-encoded credit cards, debit cards;
28              i. Cell phones;

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 1              j. BMW 745Li Sedan, California license plate 6LFS240,
                   VIN WBAGN63443DR12061; and
 2              k. Approximately $11,697 in United States currency.
 3   In addition, defendant Deanna Williams agreed that as part of her
 4   sentence the Court may, pursuant to Fed. R. Crim. P. 32.2(b),
 5   order a forfeiture money judgment in the amount up to $595,120,
 6   less any forfeited funds.     To the extent that the United States
 7   realizes any sums from the forfeiture of assets specified in this
 8   preliminary order of forfeiture, the sum of the $595,120 money
 9   judgment shall be reduced accordingly.       Defendant Deanna Williams
10   shall be jointly and severally liable on the money judgment with
11   defendants Jose D. Holmes and Lonell Lindsey.
12        2.   Assets a-j listed above constitute personal property
13   used or intended to be used to commit a violation of 18 U.S.C. §
14   1029(b)(2).    Asset k listed above constitutes or is derived from
15   proceeds obtained directly or indirectly as a result of a
16   violation of 18 U.S.C. § 1029(b)(2).
17        3.   Pursuant to Rule 32.2(b), the Attorney General (or a
18   designee) shall be authorized to seize the above-listed property.
19   The aforementioned property shall be seized and held by the U.S.
20   Secret Service, in its secure custody and control.
21        4.   a.   Pursuant to 18 U.S.C. § 982(b)(1), 18 U.S.C. §
22   1029(c)(2), and Local Rule 171, the United States shall publish
23   notice of the order of forfeiture.       Notice of this Order and
24   notice of the Attorney General’s (or a designee’s) intent to
25   dispose of the property in such manner as the Attorney General
26   may direct shall be posted for at least 30 consecutive days on
27   the official internet government forfeiture site
28   www.forfeiture.gov.    The United States may also, to the extent

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 1   practicable, provide direct written notice to any person known to
 2   have alleged an interest in the property that is the subject of
 3   the order of forfeiture as a substitute for published notice as
 4   to those persons so notified.
 5              b.   This notice shall state that any person, other than
 6   the defendant, asserting a legal interest in the above-listed
 7   property, must file a petition with the Court within sixty (60)
 8   days from the first day of publication of the Notice of
 9   Forfeiture posted on the official government forfeiture site, or
10   within thirty (30) days from receipt of direct written notice,
11   whichever is earlier.
12        5.   If a petition is timely filed, upon adjudication of all
13   third-party interests, if any, this Court will enter a Final
14   Order of Forfeiture pursuant to 18 U.S.C. §§ 982(a)(2)(B) and
15   1029(c)(1)(C), in which all interests will be addressed.
16        SO ORDERED this 27th day of April, 2011.
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